










COURT OF APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH
&nbsp;
NO. 2-04-055-CV
&nbsp; 
&nbsp; 
KENNA 
WITTAU&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT
&nbsp;&nbsp; 
V.
&nbsp;&nbsp; 
GARY 
STORIE&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLEE
&nbsp; 
&nbsp;&nbsp; 
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&nbsp;
FROM 
THE 16TH DISTRICT COURT OF DENTON COUNTY
&nbsp;
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&nbsp;
OPINION
&nbsp;
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Kenna 
Wittau appeals from a nunc pro tunc order modifying Gary Storie’s child 
support obligations. In five issues, Wittau contends that the nunc pro tunc 
order is void because it corrected a judicial error after the trial court’s 
plenary power over the original child support order had expired. She contends 
there was no evidence or factually insufficient evidence to support the trial 
court’s implied finding that the original child support order contained a 
clerical error.1&nbsp; We will vacate the trial 
court’s nunc pro tunc order and render judgment denying the motion for 
judgment nunc pro tunc.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Wittau 
and Storie are the parents of two minor children. They were divorced in 1990, 
and Storie began paying Wittau $350 per month in child support. In September 
2001, Wittau filed a motion to modify Storie’s child support obligations. In 
addition to increased support, Wittau sought reimbursement for the children’s 
medical expenses and attorney’s fees. Wittau also asked that any increase in 
child support be made retroactive to the date Storie was served with process or 
entered an appearance in the modification proceeding, whichever was earlier.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On 
February 10, 2003, the trial court held an evidentiary hearing on Wittau’s 
motion, after which it made the following ruling:
&nbsp; 
Okay. 
The court grants [the] motion to modify and sets child support at $533.40, 
grants judgment for $239.31 medical expenses, and orders respondent to pay 
$2,000 in attorney’s fee[s].
&nbsp; 
&nbsp;&nbsp; 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The 
trial court’s docket entry for the February 10 hearing stated: “Child sup. 
modification granted ($533.40) + jdgment for $239.31 med exp. + $2000 atty 
fee.”
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The 
trial court asked Wittau’s attorney to prepare an order, which the court 
signed on March 5, 2003. The order required Storie to pay Wittau child support 
of $533.40 per month beginning on March 1, 2003, plus the medical expenses and 
attorney’s fees that the trial court had awarded at the February 10 hearing. 
In addition, the order provided that the increased child support obligation was 
retroactive to September 28, 2001 so that an arrearage of $3,136.14 had accrued 
between September 28, 2001 and March 1, 2003 for which Storie was liable.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On 
January 8, 2004, after the trial court’s plenary power had expired,2&nbsp; Storie filed a motion for judgment nunc pro tunc, in 
which he alleged that the March 5, 2003 order was incorrect because it awarded 
Wittau $3,136.14 in retroactive child support that the trial court had not 
awarded at the February 10 hearing. After a hearing on Storie’s motion, the 
trial court signed a nunc pro tunc child support order that omitted the 
arrearage award. This appeal followed.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In 
her appellate issues, Wittau argues that the nunc pro tunc order is void because 
the March 5 order was not erroneous. In the alternative, she contends that, if 
the March 5 order did contain an error, the error was judicial and not subject 
to change outside the trial court’s plenary period.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A 
judgment routinely goes through three stages: (1) rendition, (2) signing, and 
(3) entry. Gen. Elec. Capital Auto Fin. Leasing Servs., Inc. v. Stanfield, 
71 S.W.3d 351, 354 (Tex. App.—Tyler 2001, pet. denied); Oak Creek Homes, 
Inc. v. Jones, 758 S.W.2d 288, 290 (Tex. App.—Waco 1988, no writ). A 
judgment is rendered when the trial court officially announces its 
decision—either in open court or by written memorandum filed with the 
clerk—on the matter submitted for adjudication. S &amp; A Rest. Corp. v. 
Leal, 892 S.W.2d 855, 857 (Tex. 1995); Reese v. Piperi, 534 S.W.2d 
329, 330 (Tex. 1976). In the case of an oral rendition, the judgment is 
effective immediately, and the signing and entry of the judgment are only 
ministerial acts. Dunn v. Dunn, 439 S.W.2d 830, 832 (Tex. 1969); Gen. 
Elec. Capital Auto Fin. Leasing Servs., 71 S.W.3d at 354; Oak Creek 
Homes, 758 S.W.2d at 290; Verret v. Verret, 570 S.W.2d 138, 140 (Tex. 
Civ. App.—Houston [1st Dist.] 1978, no writ); see also Tex. R. Civ. P. 306a(2). But if the 
trial court signs a judgment on an issue without first making an oral 
pronouncement in open court, the act of signing the judgment is the official act 
of rendering judgment. Dikeman v. Snell, 490 S.W.2d 183, 184 (Tex. 1973) 
(orig. proceeding); Comet Aluminum Co. v. Dibrell, 450 S.W.2d 56, 58 
(Tex. 1970) (orig. proceeding).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Once 
a trial court loses plenary power over a judgment, it can correct clerical, but 
not judicial, errors by judgment nunc pro tunc. Escobar v. Escobar, 711 
S.W.2d 230, 231 (Tex. 1986); see also Tex. R. Civ. P. 316. A clerical error is 
an error in the entry of a judgment; it is a mistake or omission that prevents 
the judgment as entered from accurately reflecting the judgment that was 
rendered. Escobar, 711 S.W.2d at 231; Univ. Underwriters Ins. Co. v. 
Ferguson, 471 S.W.2d 28, 29-30 (Tex. 1971); Butler v. Cont’l Airlines, 
Inc., 31 S.W.3d 642, 647 (Tex. App.—Houston [1st Dist.] 2000, pet. 
denied). In contrast, a judicial error arises from a mistake of law or fact that 
results from judicial reasoning or determination. Andrews v. Koch, 702 
S.W.2d 584, 585 (Tex. 1986); Lagoye v. Victoria Wood Condo. Ass'n, 112 
S.W.3d 777, 783 (Tex. App.—Houston [14th Dist.] 2003, no pet.). A judicial 
error occurs in the rendition, as opposed to the entry, of a judgment. Escobar, 
711 S.W.2d at 231.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether 
the trial court previously rendered judgment and the content of the judgment are 
fact questions for the trial court, but whether an error in the judgment is 
judicial or clerical is a question of law. Id. at 232; Butler, 31 
S.W.3d at 647. Where, as here, no findings of fact or conclusions of law were 
filed, the trial court’s judgment implies all findings of fact necessary to 
support it. Pharo v. Chambers County, 922 S.W.2d 945, 948 (Tex. 1996). 
Because a record was made of the nunc pro tunc hearing, however, these implied 
findings are not conclusive, and Wittau may challenge them by raising both legal 
and factual sufficiency of the evidence issues. Roberson v. Robinson, 768 
S.W.2d 280, 281 (Tex. 1989). We review the trial court’s implied factual 
determinations under traditional legal and factual sufficiency standards,3 but are not bound by the trial court’s legal 
determination regarding the nature of any error in the original judgment. Roberson, 
768 S.W.2d at 281; Escobar, 711 S.W.2d at 232; Finlay v. Jones, 
435 S.W.2d 136, 138 (Tex. 1968) (orig. proceeding).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In 
this case, it is undisputed that the trial court rendered judgment at the 
February 10 hearing. Thus, we turn to the evidence regarding the content of the 
February 10 order. Both the trial court’s oral rendition of judgment and its 
dockewt entry support the court’s implied finding that the February 10 order 
only rendered judgment on the amount of the increased child support, the amount 
of reimbursable medical expenses, and attorney’s fees.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Wittau 
contends that the trial court’s statement, “[t]he court grants [the] motion 
to modify,” preponderates against this finding because it shows that the court 
orally rendered judgment granting her entire motion on February 10, including 
her request for retroactive child support, and not just the relief the court 
specifically enumerated. But the motion to modify also sought other relief, such 
as a modification of the children’s health insurance coverage and premiums, 
applied retroactively, that was not awarded in either the February 10 or March 5 
order. Accordingly, applying the appropriate standards of review,4&nbsp; we hold that the evidence is legally and factually 
sufficient to support the trial court’s implied finding that the contents of 
the oral judgment rendered at the February 10 hearing were limited to the three 
things specifically enumerated by the trial court.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The 
trial court’s finding regarding the content of the February 10 order does not, 
however, support the court’s legal conclusion that the award of retroactive 
child support in the March 5 order was a clerical error. When a trial court 
orally renders a judgment that disposes of some of the issues in a party’s 
pleading, but is silent on others, a later signed judgment that disposes of an 
additional issue, while only a “written memorandum” of the oral judgment, is 
a rendition of judgment on the issue addressed for the first time in the written 
judgment. Comet Aluminum Co., 450 S.W.2d at 58-59. The later rendition of 
judgment on the additional issue, if erroneous, is a judicial error, not a 
clerical one. Id. at 59.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Storie 
contends that the trial court’s oral rendition of judgment on February 10 is 
presumed to have disposed of all issues raised in Wittau’s motion to modify, 
including her request for retroactive child support, because the rendition 
occurred after trial of the motion on the merits, there was no order for a 
separate trial of any issues, and the written March 5 order was not 
intrinsically interlocutory. In light of the supreme court’s holding in Comet 
Aluminum Co. regarding the rendition of judgment, this argument fails.5&nbsp; Moreover, because the trial court’s March 5 
written order rendered judgment awarding Wittau retroactive child support, it is 
immaterial that denial of such support would have been implied if the March 5 
order had been silent on the issue. See Comet Aluminum Co., 450 S.W.2d at 
59.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In 
summary, because the trial court first rendered judgment on the retroactive 
child support issue in the March 5 written order, that order did not contain a 
clerical error, and the trial court erred in so concluding. Further, because the 
March 5 order did not contain a clerical error, the trial court’s nunc pro 
tunc order is void. See id. Accordingly, we sustain Wittau’s issues, 
vacate the trial court’s nunc pro tunc order, and render judgment denying the 
motion for judgment nunc pro tunc.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER 
CURIAM
&nbsp; 
&nbsp; 
PANEL 
F:&nbsp;&nbsp;&nbsp;CAYCE, C.J.; GARDNER and WALKER, JJ.
&nbsp;
DELIVERED: 
August 26, 2004

&nbsp;
NOTES
1.&nbsp; 
As we discuss herein, this ruling was actually a legal conclusion, not a fact 
finding.
2.&nbsp; 
Storie did not file a motion for new trial; therefore, the trial court’s 
plenary power over the March 5 child support order expired on April 4, 2003. See 
Tex. R. Civ. P. 329b(d).
3.&nbsp; 
Several intermediate courts of appeals have held that the trial court should not 
grant a judgment nunc pro tunc unless the evidence is “clear, satisfactory and 
convincing” that a clerical error was made. See, e.g., Davis v. Davis, 
647 S.W.2d 781, 783 (Tex. App.—Austin 1983, no writ); Mobley v. Rheem Mfg. 
Co., 410 S.W.2d 320, 322 (Tex. Civ. App.—Houston 1966, writ ref’d n.r.e.); 
Stauss v. Stauss, 244 S.W.2d 518, 519 (Tex. Civ. App.—San Antonio 1951, 
no writ). Based on these cases, Wittau urges us to apply a clear and convincing 
evidence standard of review to the trial court’s factual determination 
regarding the content of the judgment the trial court originally rendered. We 
decline to do so because the supreme court has only applied traditional 
evidentiary standards of review to this determination. Escobar, 711 
S.W.2d at 232. Moreover, as we have noted, whether an error is clerical or 
judicial is a question of law. Id.
4.&nbsp; 
See Cont’l Coffee Prods. Co. v. Cazarez, 937 S.W.2d 444, 450 (Tex. 
1996); Leitch v. Hornsby, 935 S.W.2d 114, 118 (Tex. 1996) (setting out 
legal sufficiency standard); Garza v. Alviar, 395 S.W.2d 821, 823 (Tex. 
1965) (setting out factual sufficiency standard).
5.&nbsp; 
The cases on which Storie relies are not on point because they deal with the 
finality of judgments for purposes of appeal. See Moritz v. Preiss, 121 
S.W.3d 715, 718-19 (Tex. 2003); John v. Marshall Health Servs., Inc., 58 
S.W.3d 738, 740 (Tex. 2001); N.E. ISD v. Aldridge, 400 S.W.2d 893, 897-98 
(Tex. 1966). The trial court’s child support order was not final for purposes 
of appeal until it was signed on March 5, 2003. See Tex. R. App. P. 26.1 (providing that 
appellate deadlines run from date judgment is signed).



